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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA
                                 ROANOKE DIVISION

RILEY AMORE; and CAROLINE
PARKER,

individually and on behalf of all others
similarly situated,

            Plaintiffs,                           Case No. 7:25-cv-00229-EKD-CKM
v.

AMERICAN ASSOCIATION OF
VETERINARY CLINICIANS; SOLUTION
INNOVATIONS, INC.; VCA ANIMAL
HOSPITALS, INC.; BLUEPEARL
HOLDINGS, LLC; MEDVET
ASSOCIATES, LLC; RED BANK
VETERINARY HOSPITAL, P.C.;
UNIVERSITY OF PENNSYLVANIA
SCHOOL OF VETERINARY MEDICINE;
CUMMINGS SCHOOL OF VETERINARY
MEDICINE AT TUFTS UNIVERSITY;
COLLEGE OF VETERINARY MEDICINE
AT MIDWESTERN UNIVERSITY;
NATIONAL VETERINARY ASSOCIATES,
INC.; PIEPER-OLSON VETERINARY
PARENT, LLC; PATHWAY VET
ALLIANCE, LLC; THE ANIMAL
MEDICAL CENTER, INC.,

            Defendants.


                         ORDER GRANTING MOTION FOR
                PRO HAC VICE ADMISSION OF PATRICK J. MCGAHAN

       Upon consideration of the Motion for Pro Hac Vice Admission of Patrick J. McGahan,

dated April 18, 2025, it is hereby
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       ORDERED that Patrick J. McGahan is specially admitted to appear and participate in the

above-captioned action as co-counsel on behalf of Plaintiffs Riley Amore and Caroline Parker,

individually and on behalf of all others similarly situated. The Clerk shall provide electronic notice

of all electronic filings to Patrick J. McGahan at the following email address: pmcgahan@scott-

scott.com.



Entered: __________________                           ____________________________________
                                                      United States District Judge




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